                     Case 22-13983-PDR        Doc 27      Filed 07/14/22     Page 1 of 3

                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                                                              CASE NO.: 22-13983-BKC-PDR
                                                                           PROCEEDING UNDER CHAPTER 13

IN RE:

ANNETTA MCCALLA
XXX-XX-1546
CURTIS MCNEAL
XXX-XX-2479

_____________________________/
DEBTORS

                         CERTIFICATE OF SERVICE ON NOTICE OF HEARING


        I HEREBY CERTIFY that I am admitted to            the Bar of the United States District Court for the
Southern District of Florida and I am in compliance       with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a    true and correct copy of the Notice Of Hearing noted
above was served, via U.S. first class mail, certified   mail and/or CM/ECF, upon the parties listed on the
attached service list this 14th day of July, 2022.

                                                                     /s/ Robin R. Weiner
                                                                     _____________________________________
                                                                     ROBIN R. WEINER, ESQUIRE
                                                                     STANDING CHAPTER 13 TRUSTEE
                                                                     P.O. BOX 559007
                                                                     FORT LAUDERDALE, FL 33355-9007
                                                                     TELEPHONE: 954-382-2001
                                                                     FLORIDA BAR NO.: 861154
                  Case 22-13983-PDR   Doc 27   Filed 07/14/22   Page 2 of 3
                                                                          CERTIFICATE OF SERVICE
                                                                        CASE NO.: 22-13983-BKC-PDR

                                      SERVICE LIST

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QUANTUM3 GROUP LLC AS AGENT FOR
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                 Case 22-13983-PDR   Doc 27   Filed 07/14/22   Page 3 of 3
                                                                         CERTIFICATE OF SERVICE
                                                                       CASE NO.: 22-13983-BKC-PDR

SUNTRUST BANK NOW TRUIST BANK
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